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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


Ahmad Saqr, et al.,                              :
                                                 :
               Plaintiff(s),                     :
                                                 :   Case Number: 1:18cv542
       vs.                                       :
                                                 :   Judge Susan J. Dlott
The University of Cincinnati, et al.,            :
                                                 :
               Defendant(s).                     :

                                             ORDER

       This matter is before the Court pursuant to the Order of General Reference in the United

States District Court for the Southern District of Ohio Western Division to United States

Magistrate Judge Stephanie Bowman. Pursuant to such reference, the Magistrate Judge

reviewed the pleadings and filed with this Court on February 20, 2019 a Report and

Recommendation (Doc. 11). Subsequently, the plaintiff filed a statement to such Report and

Recommendation (Doc. 13).

       The Court has reviewed the comprehensive findings of the Magistrate Judge and

considered de novo all of the filings in this matter. Upon consideration of the foregoing, the

Court does determine that such Recommendation should be adopted.

       Accordingly, the University of Cincinnati’s motion to dismiss plaintiffs’ claims in their

entirety (Doc. 6) is GRANTED ONLY IN PART, with judgment to be entered in favor of

Defendant University of Cincinnati on Counts I and II (ADA claims except for the portion of

Count I that seeks injunctive relief), Count III (Rehabilitation Act claims), Count IV (state

discrimination claim), Count VI (Title VI retaliation claim); and Count VII (state breach of

contract claim). It is further ORDERED that judgment be granted to University of Cincinnati
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and that the motion is GRANTED as to the portion of Count V in which Plaintiff Omar Saqr

asserts a Title VI discrimination claim. However, the motion is DENIED as to the portion of

Count V that sets forth Plaintiff’s Ahmad Saqr’s claim.

       Proceedings will continue at present for Plaintiff Ahmad Saqr’s Title VI discrimination

claim and for both Plaintiffs’ claims for injunctive and declaratory relief under the Americans

with Disability Act.

       IT IS SO ORDERED.




                                                     ___s/Susan J. Dlott___________
                                                     Judge Susan J. Dlott
                                                     United States District Court
